                                              Case 8:19-bk-03648-RCT               Doc 67     Filed 10/22/21           Page 1 of 2

                                                                                   Form 1                                                                               Page: 1

                                                       Individual Estate Property Record and Report
                                                                        Asset Cases
Case Number:        19-03648 RCT                                                             Trustee: (290380)           Stephen L. Meininger
Case Name:          APEX ROAD COMMERCIAL, LLC                                                Filed (f) or Converted (c): 04/22/19 (f)
                                                                                             §341(a) Meeting Date:       08/01/19
Period Ending:      09/30/21                                                                 Claims Bar Date:            10/30/19

                               1                                           2                        3                           4                  5                    6

                       Asset Description                               Petition/            Estimated Net Value              Property         Sale/Funds          Asset Fully
            (Scheduled And Unscheduled (u) Property)                 Unscheduled       (Value Determined By Trustee,        Abandoned         Received by      Administered (FA)/
                                                                        Values            Less Liens, Exemptions,       OA=§554(a) abandon.    the Estate       Gross Value of
Ref. #                                                                                        and Other Costs)                                                 Remaining Assets

 1       ADV. PRO. 21-237 v. DONALD E PHILLIPS, THE LOST                  Unknown                        5,000.00                                       0.00             5,000.00
         (u) (See Footnote)

 1       Assets         Totals (Excluding unknown values)                      $0.00                    $5,000.00                                      $0.00            $5,000.00

     RE PROP# 1        Answer And Affirmative Defenses filed on 8/30/21; Notice Scheduling Pretrial/Status Conference dated
                       8/31/21 - 9/14/21; continued to 11/16/21;


     Major Activities Affecting Case Closing:
             00Application To Employ GJB as Counsel For Trustee filed on 7/8/19; Order Approving Trustee's Application To Employ GJB as Counsel For Trustee entered on
             7/9/19; Report Of Election Of A Committee filed on 8/6/19; Trustee's Notice of Rule 2004 Examination Duces Tecum (Doument Productio Only) filed on 6/19/20; Dt's
             Motion For Extension Of Time To Respond To Trustee's Notice of Rule 2004 Examination Duces Tecum filed on 7/17/20; Order Granting Dt's Motion For Extension Of
             Time To Respond To Chapter 7 Trustee's Trustee's Notice Of Rule 2004 Examination Duces Tecum entered on 7/24/20; Attorney is investgating potential preferences
             and fraudulent conveyances that petitioning creditors beleive may have occured; Motion To Comepl Production of Documents Form Dt filed on 10/27/20; Notice Of
             Hearing on Motion To Compel filed on 11/25/20 scheduling hearing on 2/9/21; Notice of Reschedued Hearing ((rescheduled as to time only) dated 1/21/21 Motion To
             Compel Production Of docs); Response To Trustee's Motion To Compel Production Of Documents From Dt filed on 2/5/21; Renewed Motion To Compel Production Of
             Documents From Dt filed on 2/10/21; Order DenyinTustee's Motion To Compel roduction O Documents From Dt Without Prejudice For Failure To Proseute entered on
             2/11/21; Notice Of Hearing filed on 2/12/21 scheduling a hearin on the Renewed Motion To Compel Production of Documents From Dt on 4/13/21; Supplement To Dt's
             Response To Trustee's Motion To Compel Production of Docuemtns From Apex Road Commercial, LLC filed on 4/12/21; Exhibit A To Supplement To Dt's Response
             To Trustee's Motion To Compel Production From Dt filed on 4/13/21; Notice Of Ordering Audio From Hearing filed on 4/22/21; Order Granting Renewed Motion To
             Compel Production Of Documents From Dt entered on 4/21/21; Trustee's Motion For Extension Of Deadlines Under 11. U.S> Chapter 5 filed on 5/10/21; Notice of
             Hearing filed on 5/10/21 - Motion For Extension of Time - 6/15/21; Motion For In-Camera Review Of Privileged Documents And Protective Order filed on 5/26/21;
             Expedited Motion To Compel Turnover Of Unredacted Documents Withheld Due To Attorne-Client Privige Claims filed on 5/26/21; Order Granting, In part, Motion For
             In-Camera Review Of Priveged Documents And prtoective Order, And Reserving Ruling On Expedited Motion To Compel Turnover Of Unredacted Documents
             Withheld Due To Attorney-Client Privilege Claim entered on 5/27/21; Objection To Trustee's Motioin For Extension Of Deadlines Under 11 USC Chapter 5 filed on
             6/3/21; Motice Of Complance With order Granting, In Part, Motion For In-camera Review Of Priviledged Documents And Protective Order And Interested Parties'
             Response To Trustee's Expedited Motion To Compel Turnover Of Unredacted Documents filed on 6/3/21; Order Denying In Part And Granting In Part Exedited Motion

                                                                                                                                              Printed: 10/22/2021 03:36 PM   V.20.33
                                             Case 8:19-bk-03648-RCT                Doc 67    Filed 10/22/21           Page 2 of 2

                                                                                   Form 1                                                                              Page: 2

                                                      Individual Estate Property Record and Report
                                                                       Asset Cases
Case Number:       19-03648 RCT                                                             Trustee: (290380)           Stephen L. Meininger
Case Name:         APEX ROAD COMMERCIAL, LLC                                                Filed (f) or Converted (c): 04/22/19 (f)
                                                                                            §341(a) Meeting Date:       08/01/19
Period Ending:     09/30/21                                                                 Claims Bar Date:            10/30/19

                              1                                           2                        3                           4                  5                    6

                      Asset Description                                Petition/           Estimated Net Value              Property         Sale/Funds          Asset Fully
           (Scheduled And Unscheduled (u) Property)                  Unscheduled      (Value Determined By Trustee,        Abandoned         Received by      Administered (FA)/
                                                                        Values           Less Liens, Exemptions,       OA=§554(a) abandon.    the Estate       Gross Value of
Ref. #                                                                                       and Other Costs)                                                 Remaining Assets

            To Compel Turnover Of Unredacted Documents Woithheld Due To Atty-Cleint Priviledge Claim, And Order Granting In Part And Denying In part Motion For In-Camera
            Review Of Privileged Docs And protective Order entered on 6/8/21; Order Granting Trustee's Motion For Extension Of Deadlines Under 11 USC Chapter 5 entered on
            6/17/21; Adv. Pro. 21-237 filed against Dinald E. Phillips, The Lost haven Trust filed on 7/27/21;

    Initial Projected Date Of Final Report (TFR): October 31, 2020                      Current Projected Date Of Final Report (TFR): September 30, 2022




                                                                                                                                             Printed: 10/22/2021 03:36 PM   V.20.33
